          Case 1:23-cr-00145-NODJ-BAM Document 19 Filed 08/03/23 Page 1 of 1

 1                        IN THE UNITED STATES DISTRICT COURT FOR THE

 2                                EASTERN DISTRICT OF CALIFORNIA
                                                                                           FILED
                                                                                          Aug 03, 2023
 3
                                                                                       CLERK, U.S. DISTRICT COURT
                                                                                     EASTERN DISTRICT OF CALIFORNIA


     UNITED STATES OF AMERICA,
 4                                                    CASE NO. 1:23-CR-00145-ADA-BAM
                                 Plaintiff,
 5
                           v.                         ORDER TO UNSEAL REDACTED INDICTMENT
 6
     ALEXANDER ALVES,
 7
                                Defendant.
 8

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10          Pursuant to the motion by the United States, IT IS HEREBY ORDERED that a redacted version
11 of the Indictment filed on July 20, 2023, and docket as to defendant Alexander Alves, be unsealed and

12 become public record, and that the unredacted Indictment remain under seal.

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           8/3/23
15 DATED: _____________                                _______________________________
                                                       HON. BARBARA A. MCAULIFFE
16                                                     U.S. MAGISTRATE JUDGE

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      MOTION AND PROPOSED ORDER TO UNSEAL              3
